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                                           Exhibit B

                                          Stipulation




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )     Chapter 11
                                                           )
    PERFORMANCE POWERSPORTS                                )     Case No. 23-10047 (LSS)
    GROUP INVESTOR, LLC, et al.,1                          )
                                                           )
                    Debtors.                               )     (Jointly Administered)
                                                           )

          STIPULATION AMONG THE DEBTORS, RICHARD GODFREY, AND
         KINDERHOOK INDUSTRIES, LLC AND ITS AFFILIATED COMPANIES
         WITH RESPECT TO (I) THE DEBTORS’ (A) OBJECTION TO PROOF OF
          CLAIM NO. 27 FILED BY RICHARD GODFREY AND (B) MOTION TO
           DESIGNATE PLAN VOTE OF RICHARD GODFREY PURSUANT TO
        11 U.S.C. § 1126(E), (II) OBJECTION AND RESERVATION OF RIGHTS OF
         CREDITOR RICHARD GODFREY TO CONFIRMATION OF DEBTORS’
       AMENDED JOINT PLAN OF LIQUIDATION PURSUANT TO CHAPTER 11 OF
       THE BANKRUPTCY CODE AND (III) THE DISCOVERY RELATED THERETO

             This Stipulation Among the Debtors, Richard Godfrey and Kinderhook Industries, LLC

and its Affiliated Companies With Respect to (I) the Debtors' (A) Objection to Proof of Claim No.

27 Filed by Richard Godfrey and (B) Motion to Designate Plan Vote of Richard Godfrey Pursuant

to 11 U.S.C. § 1126(e), (II) Objection and Reservation of Rights of Creditor Richard Godfrey to

Confirmation of Debtors' Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the

Bankruptcy Code and (III) the Discovery Related Thereto (hereinafter the “Stipulation”) is entered

into as of September 1, 2023 (the “Execution Date”) by and among (i) the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”); (ii) Kinderhook Industries, LLC and




1
      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona, 85281.


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Kinderhook Industries’ affiliated companies2 (collectively, “Affiliated Entities,” and together with

Kinderhook Industries, “Kinderhook”); and (iii) Richard Godfrey (“Godfrey” together with the

Debtors and Kinderhook, the “Parties”). Except where explicitly provided below, the terms of the

Stipulation will become effective as of the Execution Date.

                                               RECITALS

        A.      On January 16, 2023 (“Petition Date”) the Debtors each filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.

        B.      On March 27, 2023, the Court entered an order approving the sale of substantially

all the Debtors’ assets [Docket No. 270] (the “Sale Order”). The Sale Order approved an asset

purchase agreement (the “APA”) that set forth the terms of the sale from the Debtors to CPS USA

Acquisition, LLC. The sale closed on March 31, 2023.

        C.      On April 24, 2023, Richard Godfrey filed a Proof of Claim in the amount of

$62,640,000 (“Godfrey Claim”). On August 7, 2023, the Debtors filed an Objection to Proof of

Claim No. 27 Filed by Richard Godfrey and Motion to Designate Plan Vote of Richard Godfrey

Pursuant to 11 U.S.C. § 1126(e) [Docket No. 437] (the “Claim Objection”).

        D.      On June 15, 2023, the Debtors filed the solicitation version of the Debtors’

Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”)

and the Disclosure Statement with Respect to Debtors’ Amended Joint Plan of Liquidation

Pursuant to Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”). The hearing to

consider confirmation of the Plan originally scheduled for July 24, 2023 at 2:00 p.m. was continued




2
    Specifically, Kinderhook Capital Fund VI, L.P.; Kinderhook Capital Fund VI-B, L.P.; CPS USA Acquisition,
    LLC; and Tankas Funding VI, LLC.


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to September 11, 2023 at 1:00 p.m., and then further continued to and is currently scheduled for

October 4, 2023 at 10:00 a.m. (the “Confirmation Hearing”).

       E.      On August 7, 2023, Richard Godfrey filed the Objection and Reservation of Rights

of Creditor Richard Godfrey to Confirmation of Debtors’ Amended Joint Plan of Liquidation

Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 439] (“Godfrey Plan Confirmation

Objection”) and served upon Debtors his First Set of Requests for the Production of Documents

(“Godfrey Discovery Requests to Debtors”).

       F.      On August 7, 2023, Richard Godfrey provided to Kinderhook Industries, LLC and

each of its Affiliated Entities a Notice of Intent to Serve Subpoena Seeking the Production of

Documents and requested waiver of service of same (“Godfrey Discovery Requests to

Kinderhook” and together with Godfrey Discovery Requests to Debtors, the “Godfrey Discovery

Requests”).

       G.      On August 14, 2023, the Debtors served upon Godfrey the Notice of Deposition of

Richard Godfrey (the “Debtors’ Deposition Notice”).

       H.      On August 15, 2023, the Debtors served upon Godfrey the Debtors’ First Set of

Requests for Production of Documents to Richard Godfrey Related to Plan Objection (“Debtors’

Discovery Requests to Godfrey” and together with Debtors’ Deposition Notice, the “Debtors

Discovery Requests”).

       I.      Various discovery has also been issued in connection with the Godfrey Claim.

       J.      The Parties have engaged in good faith negotiations regarding the Claim Objection,

the Godfrey Plan Confirmation Objection, the Godfrey Discovery Requests, and the Debtors

Discovery Requests.




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        K.       By this Stipulation, the Parties, to avoid the cost and uncertainty of discovery and

litigation, desire to resolve the outstanding issues among the Parties related to the Godfrey Plan

Confirmation Objection, the Claim Objection, and the Godfrey Discovery Requests.

        NOW, THEREFORE, in consideration of the foregoing and of the mutual promises

hereinafter set forth, the receipt and adequacy of which are hereby acknowledged, the Parties

represent and agree as follows:

        1.       Second Amended Plan. Upon execution of the Stipulation, the Debtors shall file

with the Bankruptcy Court a Second Amended Joint Plan of Liquidation Pursuant to Chapter 11

of the Bankruptcy Code in the form attached hereto as Exhibit A (“Second Amended Plan”).3 The

confirmation order for the Second Amended Plan shall include language reaffirming and

acknowledging the release set forth in the Final DIP Order.

        2.       Withdrawal of Godfrey Plan Objection and Termination of Scheduling Order.

Upon execution of the Stipulation, Godfrey shall file a notice with the Court that the Godfrey Plan

Objection is withdrawn and that the Parties and Debtors stipulate that the Scheduling Order

(Docket No. 457) is no longer applicable. Godfrey further agrees that he will not otherwise object

to the Second Amended Plan.

        3.       Reduction of Godfrey Claim for Voting Purposes and Reservation of Rights

Regarding Godfrey Claim. The Parties agree that the Godfrey Claim will be reduced to $22.5

million (“Reduced Godfrey Claim”). Godfrey or the Debtors, as is deemed necessary, will move

to amend the amount of Godfrey’s Plan vote to reflect the Reduced Godfrey Claim amount (such

pleading, the “3018 Motion”). Debtors accept the Reduced Godfrey Claim for voting purposes



3
    Capitalized terms used but not defined herein shall have the meaning ascribed to it in the Second Amended
    Plan.


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only, and the Parties will defer any objection on allowance of the Reduced Godfrey Claim for all

other purposes until after confirmation of the Second Amended Plan.

        4.       Plan Confirmation. The Confirmation Hearing shall be set for October 4, 2023 at

10:00 a.m.

        5.       Withdrawal of Claim Objection. Upon the Court’s approval of the 3018 Motion,

the Debtors shall file a notice with the Court that the Claim Objection is withdrawn without

prejudice.

        6.       Withdrawal of Discovery. The Parties agree that upon execution of the

Stipulation, all pending discovery requests with respect to either the Godfrey Plan Confirmation

Objection or the Claim Objection, including but not limited to the Godfrey Discovery Requests or

the Debtors’ Discovery Requests, are withdrawn. The parties agree to not pursue any additional

discovery, including with respect to the Godfrey Claim, the Reduced Godfrey Claim, objections

to the Godfrey Claim or the Reduced Godfrey Claim, or the Godfrey Plan Objection, absent the

Debtors’ filing of a new objection to the Reduced Godfrey Claim.

        7.       Mutual Standstill of Direct Claims Between Kinderhook and Godfrey. If the

Second Amended Plan4 is confirmed by the Bankruptcy Court and the Litigation Trust5 provided

therein created, beginning on the Plan Confirmation Date and continuing until resolution of the

Litigation Trust’s prosecution of trust claims against Godfrey, the Parties agree to a mutual

standstill of prosecution of any and all (i) direct claims by Godfrey against Kinderhook, and (ii)

direct claims by Kinderhook against Godfrey (collectively, “Direct Claims”), except that the



4
    Or any subsequent amended Plan submitted by the Debtors that comports with the requirements of Paragraph 1.
5
    Capitalized terms not otherwise defined herein shall be ascribed the meaning set forth in the Second Amended
    Plan.


                                                   5
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Parties expressly agree that Kinderhook shall have the right to pursue available insurance coverage

for claims and recovery under Kinderhook’s separate reps and warranties insurance coverage

(“Reps and Warranties Claims”). In addition, the Parties will work to ensure that any insurance

policies that may provide coverage for the actions contemplated in this Agreement are not defeated

by non-personal collection efforts.

        8.       Termination of Mutual Standstill. The Parties may proceed to prosecute Direct

Claims and the mutual standstill shall terminate if the Litigation Trust fails to bring claims against

Godfrey within nine (9) months of the Plan Confirmation Date (the “Mutual Standstill Expiration

Date”); provided that, following the Mutual Standstill Expiration Date, any Direct Claim brought

by Kinderhook against Godfrey shall immediately be stayed upon the Litigation Trust filing suit

against Godfrey. If the Bankruptcy Court fails to confirm the Second Amended Plan,6 the mutual

standstill of Direct Claims shall be deemed waived without further action by any Party, and the

Parties may proceed to prosecute Direct Claims.

        9.       Conversion of Mutual Standstill to Mutual Release. If the Litigation Trust

recovers on claims against Godfrey via settlement or final judgement, the Mutual Standstill

provided in Paragraph 7 shall convert to a mutual release of Direct Claims, effective upon entry of

a final judgment or execution of a settlement agreement. Except as expressly provided for in this

Paragraph 9, the Parties agree that no other provision in this Stipulation is intended to be or shall

be construed as any release or discharge or waiver of any Direct Claims. The Parties further agree

that the Reps and Warranty Claims as discussed in Paragraph 7 are not subject to release.

        10.      Tolling of Direct Claims. The Parties further agree that any statute of limitations

as well as any defense of laches and any other time-related defense applicable to any Direct Claim


6
    See fn.4.


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(collectively, “Time-Based Defenses”) will be tolled during the standstill period provided for in

paragraph 7 hereof (“Tolling Period”). The running of any applicable statute of limitations shall

resume after the end of the Tolling Period, unless there is an extension of the Tolling Period

executed in writing by and behalf of the Parties. The Parties each agree not to assert, plead, or raise

in any fashion any Time-Based Defense to any Direct Claim that relies in whole or in part on time

that passed during the Tolling Period.

         11.    Relief from Automatic Stay. The Parties agree that Kinderhook and Godfrey will

each be granted relief from the Automatic Stay for the limited purpose of seeking D&O insurance

coverage related any pending non-bankruptcy matters and any actions initiated by the Litigation

Trust.

         12.    Approvals. This Stipulation will be incorporated into either the Second Amended

Plan or any order approving the Second Amended Plan.

         13.    Termination of Stipulation. In the event the Debtors are unable to confirm the

Second Amended Plan or a plan substantially similar thereto, or any other material, adverse

changes occur in connection with the Debtors’ case, any Party may give notice of the termination

of this Stipulation. Upon receipt of such notice, any other Party shall have 14 days to request a

hearing from the Court regarding the same.

         14.    General.

                a.    This Stipulation is the product of bargained for, arms’ length negotiations

                      between the Parties and their counsel and shall not be construed for or

                      against any Party or its representative(s) because that Party or that Party’s

                      legal representative drafted such provision.




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 b.   The validity, construction and all rights and obligations relating to this

      Stipulation shall be governed by the laws of the state of Delaware. Any

      disputes arising from this Stipulation shall be decided in an action or

      proceeding occurring before the Bankruptcy Court which shall have

      exclusive jurisdiction over any dispute arising under or related to this

      Stipulation.

 c.   The Parties hereto warrant, covenant and agree that they each have power

      and authority to enter into and consummate this Stipulation, and that this

      Stipulation does not conflict with any other agreement, arrangement, or

      understanding of the Parties.

 d.   The Parties further warrant, covenant, and agree that no other party, agent,

      employee, or attorney of any party has made any promise, representation, or

      warranty, whether express or implied, not expressly contained herein

      concerning the subject matter hereof, to induce any party to enter into and

      execute this Stipulation. Each Party further acknowledges and agrees that

      none of them have executed this Stipulation in reliance upon any promise,

      representation, warranty or agreement not contained or set forth herein,

      except as set forth herein.

 e.   This Stipulation sets forth all agreements, covenants, representations,

      warranties, express or implied, with regard to the subject matter hereof. All

      prior and contemporaneous conversations, negotiations, actual, possible, and

      alleged agreements and representations with respect to the subject matter




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       hereof and not contained in this Stipulation are waived, merged, and

       superseded hereby.

  f.   The Parties represent and warrant that they have read and fully understand

       the terms of this Stipulation. After consulting with counsel, each of the

       Parties has concluded that it is in its best interest to settle their differences

       and disputes upon the terms and conditions set forth herein, and in doing so,

       does not admit, concede, or imply that it has done anything wrong or legally

       actionable.

  g.   No provision herein may be waived, modified, or amended unless in writing

       and signed by all Parties. Waiver of any one provision herein shall not be

       deemed to be a waiver of any other provision herein.

  h.   This Stipulation may be executed in any number of counterparts, each of

       which shall be deemed an original, and all, when taken together, shall

       constitute the entire Stipulation, and a facsimile or electronically-scanned

       signature shall be deemed an original signature for purposes of executing

       this Stipulation.

                     [Signature Page Follows]




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Stipulated and agreed to effective September 1, 2023,
by:

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